       Case 3:16-cr-01445-AJB                 Document 36          Filed 07/07/16   PageID.66   Page 1 of 1
                                 UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF CALIFORNIA

    UNITED STATES OF AMERICA,
                                                                        Case No. 16CR1445-CAB

                                                      Plaintiff,
                         vs.
                                                                        JUDGMENT OF DISMISSAL
    GUADALUPE ROJAS-DE BA:lffiON (2)
                                ,   "' : y   v '"



                                                    Defendant.

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

        Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
        Vacated, and

       an indictqlent has been filed in another case against the defendant and the Court has
       granted the motion of the Government for dismissal of this case, without prejudice; or

        the Court has dismissed the case for unnecessary delay; or

./      the Court has granted the motion of the Government for dismissal, without prejudice; or

        the Court has granted the motion of the defendant for a judgment of acquittal; or
        a jury has been waived, and the Court has found the defendant not guilty; or

        the jury has returned its verdict, finding the defendant not guilty;

/       ofthe offense as charged in the Information:

        8:1324(a)(I)(A)(ii). (vXII) and (aXl)(B)(i) - Transportation of Certain Aliens for
       Financial Gain and Aidin~ and Abettin~

              IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

Dated: 71712016 ~-F-I-L~E=D----'

                                                                   Hon. Mitchell D. Dembin
                               JUL 07 2016                         United States Magistrate Judge
                        CLERK US DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
                     BY            .n        DEPUTY
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